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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

Christopher R. Murray,                          §
       Chapter 7 Trustee,                       §
                                                §
v.                                              §        C.A. No. 4:22-cv-01625
                                                §
Baker Botts L.L.P.,                             §
       Defendant.                               §


                                 NOTICE OF APPEARANCE

               Kristen M. Jacobsen of the law firm of Baker Botts L.L.P. hereby enters her

appearance as counsel in the above-referenced action on behalf of Defendant Baker Botts L.L.P.

and requests that she receive electronic notice of all filings in the above-referenced action

through the Court’s electronic filing system.
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Dated: June 15, 2022                       Respectfully submitted,


OF COUNSEL:                               BAKER BOTTS L.L.P.

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                                          Attorneys for Defendant Baker Botts L.L.P.

                             CERTIFICATE OF SERVICE
      I hereby certify that on June 15, 2022, a copy of this document was served on all
counsel of record via ECF.



                                        /s/ Kristen M. Jacobsen
                                        Kristen M. Jacobsen




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